Case 1:04-cr-00651-ILG         Document 130       Filed 09/15/05   Page 1 of 7 PageID #: 748




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
----------------------------------------------x
UNITED STATES OF AMERICA,

                       Plaintiff,

       -against-                                    MEMORANDUM AND ORDER
                                                    04 CR 651 (S-2) (ILG)
ARTHUR COFFEY, et al.,

                        Defendants.
----------------------------------------------x
GLASSER, United States District Judge:

       The Court has previously dealt with pretrial motions in this case in United States

v. Coffey, 361 F. Supp.2d 102 (E.D.N.Y. 2005). Familiarity with the case as described in

that order is presumed, and the background is supplemented only as needed. This

Memorandum and Order addresses one additional motion filed by the government

requesting that an anonymous jury be empaneled and partially sequestered.

                   Motion for an Anonymous and Sequestered Jury

       The indictment begins with ten introductory paragraphs, the first four of which

are ubiquitous in virtually every case in this district with organized crime implications.

       The first paragraph names the organized crime family implicated and describes it

as “part of a nationwide criminal organization known by various names, including the

“Mafia” and “La Cosa Nostra.”” The “family” named here is the Genovese Family.

       Paragraphs 2 and 3 then describe the organizational structure of an organized

crime family as consisting of a “boss” and “underboss,” a counselor or “consigliere,”

captains, crews, soldiers or members and associates. Paragraph 4 names Vincent

Gigante, a/k/a “Chin,” as the boss of the family.

       The indictment in paragraphs 5 and 6 then alleges that Coffey and Daggett were
Case 1:04-cr-00651-ILG        Document 130      Filed 09/15/05   Page 2 of 7 PageID #: 749




Genovese Family associates affiliated with different crews. It alleges that Ricci was a

captain of a crew.

          Paragraph 7 describes four funds that provide health care benefits to members of

the International Longshoremen’s Association (“ILA”) in different regions of the United

States.

          Paragraph 8 alleges that Coffey and Daggett were trustees of the various funds;

that Coffey was president of 3 ILA locals, an ILA International vice-president and an

executive member of the South Atlantic and Gulf Coast Regions of the ILA. It alleges

that Daggett was president of an ILA Local and secretary-treasurer of the Atlantic Coast

District of the ILA and the assistant general organizer for the ILA International.

          Paragraph 9 alleges their fiduciary obligations to the funds and paragraph 10

alleges that the defendants earned money for themselves and for members of organized

crime by placing organized crime associates in lucrative positions with the ILA, with the

funds, with companies dependent upon ILA labor and by awarding contracts to

companies that paid organized crime members and associates for services rendered to

ILA Funds.

          Count One charges Coffey and Daggett with conspiracy to extort money and the

right to do business from businesses operating at the piers in the New York City

metropolitan area, northern New Jersey and Miami, Florida, and to extort ILA

positions, money, wages and employee benefits from ILA members.

          Count Two charges Coffey, Daggett and Ricci with conspiring to defraud the

funds by depriving them of the honest services of their officers and administrators and

to obtain money and property from the funds, using the mails and wire communications

                                              2
Case 1:04-cr-00651-ILG       Document 130          Filed 09/15/05   Page 3 of 7 PageID #: 750




to execute the fraud. The specific objectives of the conspiracy is then described together

with the overt acts alleged to have been committed to further its objectives in

paragraphs 15 - 18.

       The government does not contend that either Coffey or Daggett are dangerous,

have ever attempted to interfere with the judicial process or pose a threat to doing so in

the future; have ever committed or attempted to commit an act of violence, or have ever

intimidated or harassed or threatened to intimidate or harass a witness. The

government, in its memorandum in support of this motion, invokes the dangerousness

of the Genovese and other organized crime families and several of their more notorious

members as warranting the relief it seeks.

                                         Discussion

       The law in this Circuit governing the impaneling of an anonymous jury can be put

into a nutshell viz., “when genuinely called for and when properly used, anonymous

juries do not infringe a defendant’s constitutional rights.” United States v. Vario 943

F.2d 236, 239 (2d Cir. 1991), cert denied, 502 U.S. 1036 (1992). As has been noted in a

very different context, it is one thing to put that law in a nutshell, it is quite another

thing to keep it there. See Leach, Perpetuities in a Nutshell, 51 Harv. L. Rev. 638 (1938).

The plethora of cases addressing the issue bespeaks the difficultly of keeping it there.

The difficulty lies in balancing the competing interests, on the one hand, of protecting

the jurors and their families from actual or threatened violence, protecting them from

the potential taint of extensive trial-related publicity and sensitivity to the juror’s rights

of privacy and, on the other hand, the defendants’ interests in conducting a meaningful

voir dire, maintaining the presumption of innocence and their Sixth Amendment rights.

                                               3
Case 1:04-cr-00651-ILG      Document 130         Filed 09/15/05   Page 4 of 7 PageID #: 751




United States v. Fortunato, 2002 WL 31946813, 1 (E.D.N.Y. 2002).

       District courts have been advised not to empanel an anonymous jury without

concluding that there is a strong reason to believe that the jury needs protection and the

decision whether or not there is such a strong reason rests with the court’s discretion.

See United States v. Paccione, 949 F.2d 1183, 1192 (2d Cir. 1991). In the vast majority of

cases in which the court found a strong reason for jury anonymity, the defendant had a

history of violence, of obstructing or attempting to obstruct justice, of jury tampering or

witness harassment. See, e.g., United States v. Tutino, 813 F.2d 1125 (2d Cir. 1989), cert.

denied, 493 U.S. 1081 (1990); United States v. Persico, 832 F.2d 705 (2d Cir. 1987), cert.

denied, 486 U.S. 1122 (1988); United States v. Thomas, 757 F.2d 1359 (2d Cir.1985), cert.

denied, 474 U.S. 819 (1985). In United States v. Thai, 29 F.3d 785, 801 (2d Cir. 1994),

the Court reflected that view when it wrote that “Anonymity may be warranted when the

jury needs protection, as when the government has demonstrated a defendant’s

willingness to tamper with the judicial process.” (emphasis added).

       I am mindful of what is perhaps the most oft-cited case in this regard, United

States v. Vario, 943 F.2d 236 (2d Cir. 1991), cert. denied, 502 U.S. 1036 (1992), in which

that Court wrote at 240:

              The invocation of the words ‘organized crime,’ ‘mob,’ or
              ‘Mafia,’ unless there is something more, does not warrant an
              anonymous jury. This ‘something more’ can be a
              demonstrable history or likelihood of obstruction of justice on
              the part of the defendant or others acting on his behalf or a
              showing that trial evidence will depict a pattern of violence by
              the defendants and his associates such as would cause a juror
              to reasonably fear for his own safety. Such proof would be
              sufficient in and of itself in an appropriate case to warrant an
              anonymous jury regardless of whether the defendant was a
              reputed mobster or associated with a recognized organized

                                             4
Case 1:04-cr-00651-ILG        Document 130         Filed 09/15/05   Page 5 of 7 PageID #: 752




              crime family.


       That observation was immediately followed by:

              To be sure, the specter of organized crime has played into our
              previous decisions to uphold the use of anonymous juries, but
              in these decisions, it was the reasonable likelihood of juror
              intimidation, not the incantation of the words ‘the mob’ or
              ‘organized crime,’ that prompted the anonymous jury.

       As has already been noted, the government does not allege that any of these

defendants have committed or attempted to commit any crime which can reasonably be

said to augur a concern for the integrity of the judicial process. Reliance upon a

defendant’s organized crime connection is not enough to warrant an anonymous jury.

The Court must find that “this connection has some direct relevance to the question of

juror fears or safety in the trial at hand, beyond the innuendo that this connection

conjures up.” Id. at 241.

       United States v. Mansoori, 304 F.3d 635 (7th Cir. 2002) is instructive. There, five

defendants were convicted of drug offenses, of engaging in monetary transactions

involving funds derived from criminal activity and of money laundering. Among the

errors they assert on appeal was the empaneling of an anonymous jury. In addressing

that issue, the Court extensively cites the significant cases in this Circuit and lists the

factors which bear on the determination of the issue as being: the defendant’s

involvement in organized crime; his participation in a group with the capacity to harm

jurors; whether he previously has attempted to interfere with the judicial process; the

severity of the punishment the defendant would face if convicted; and whether publicity

regarding this case presents the prospect that the jurors’ names could become public and



                                               5
Case 1:04-cr-00651-ILG       Document 130        Filed 09/15/05   Page 6 of 7 PageID #: 753




expose them to intimidation or harassment. Id. at 650-51 (internal citations omitted)

(emphasis added).

       In deciding that an anonymous jury was not warranted, the Court wrote:

              Although the case did involve elements of organized crime,
              ‘something more’ than the organized crime label is required
              in order to justify juror anonymity

                                             * * *
              In this case, the district court made no finding that the
              defendants had a history of intimidating witnesses or
              otherwise obstructing justice or that they were likely to do so
              in connection with this trial . . . . True, the defendants may
              have had the ability to intimidate jurors through associates
              who were not incarcerated, but that is true of many
              defendants. What demonstrates the need for jury protection
              is not simply the means of intimidation, but some evidence
              indicating that intimidation is likely. No such evidence is
              present here. Nor is there evidence that the defendants had
              engaged in a pattern of violence unusual enough to cause
              jurors to fear for their safety.

Id. at 240-41 (emphasis added).

       Those observations are peculiarly apposite here.

       The government has also advanced its beliefs that this case will spawn extensive

publicity as an additional reason warranting an anonymous jury. Attached to its

memorandum of law as Exhibit A, are newspaper reports of the indictment and

descriptions of some of the defendants. Those reports are not extensive in amount, most

being more than a year old and several are from papers in New Jersey, Miami, Florida

and Galveston, Texas. The accuracy of the government’s prediction of extensive publicity

of the trial remains to be seen.

       Courts faced with the question of whether an anonymous jury is or is not

warranted in any given case “face the prospect of being ‘whipsawed’ by assertions of error

                                             6
Case 1:04-cr-00651-ILG        Document 130          Filed 09/15/05    Page 7 of 7 PageID #: 754




no matter which way they rule.” Wheat v. United States, 486 U.S. 153, 161 (1988). That

observation, made in another context can appropriately be made here.

         In weighing the relevant factors and balancing the competing interests, the Court

is moved to conclude that the balance tips in favor of the defendants and the

government’s motion for an anonymous jury is denied with the following caveats: (1)

questioning will be precluded as to jurors’ exact addresses or places of employment, and

(2) should it become apparent to the Court during voir dire that jurors are reluctant to

serve for fear of their own safety, or should media attention increase to a level that could

compromise the jury’s integrity, it may reevaluate the motion.

         The government has also requested that the jury be partially sequestered during

the trial. Given the estimate of the parties that this trial may extend over a period of

many more than 4 weeks, the hardship such extended jury service will entail may be

ameliorated by an Order directing that the jurors be provided with lunch and remain in

the courthouse until the end of each court day and that the Marshal make appropriate

arrangements for the transportation of jurors from the courthouse at the end of each day.

See, e.g., United States v. Coonan, 664 F. Supp. 861 (S.D.N.Y. 1987).

         SO ORDERED.

Dated:         Brooklyn, New York
               September 15, 2005




                                           S/
                                                     I. Leo Glasser




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